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                                  JS-0001
                              
                        
          
        
      
    
  

  

  
    
      JS-0001
              John Scott
                  
        Categories
                        
Bail and Bail Bond Regulation
              , 
Counties and County Commissioners Courts
              , 
Purchasing and Contracts
        
      
            
                  Summary
                      Code of Criminal Procedure article 103.0031 generally permits a county or a municipality to enter into a third-party collection contract to recover money owed on certain items in criminal cases, including forfeited bonds. The reference to a non-existent “section” in Code of Criminal Procedure article 103.0031(h), providing that “[t]his section does not apply to commercial bail bonds,” is a scrivener’s error that creates an absurdity, such that a court would likely construe its exception to refer to article 103.0031.

A court would likely conclude that attorney sureties execute “commercial bail bonds” to the extent they sell their bonding services for a fee or commission. As such, article 103.0031(h) would prohibit a commissioners court from entering into a third-party contract for collection services on forfeited attorney surety bail bonds. Instead, forfeited attorney surety bonds would be collected by district and county attorneys, clerks of district and county courts, sheriffs, constables, and justices of the peace pursuant to Code of Criminal Procedure article 103.003(a).
&nbsp;
      
                          
            Opinion File
                         js-0001.pdf 

      
          
                
        
      
    

          
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    RQ-0490-KP

      
  
                December 13, 2022

      
  
      
      
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